     Case 1:18-cv-00718-LJO-BAM Document 5 Filed 06/06/18 Page 1 of 2

 1   Bruce D. Praet SBN 119430
 2   FERGUSON, PRAET & SHERMAN
     A Professional Corporation
 3   1631 East 18th Street
 4   Santa Ana, California 92705
     (714) 953-5300 telephone
 5   (714) 953-1143 facsimile
 6   Bpraet@aol.com

 7

 8   Attorneys for Defendants, Oscar Robles, City of Woodlake, Kevin Phelps and City
 9   of Exeter
10

11
                             UNITED STATES DISTRICT COURT
12
                            EASTERN DISTRICT OF CALIFORNIA
13

14
     ADONIS SERNA,                          NO. 1:18-cv-00718 LJO BAM
15

16         v.                               ORDER RE STIPULATION STAYING
                                            LITIGATION PENDING CRIMINAL
17                                          CASE
     OSCAR ROBLES, CITY OF
18   WOODLAKE, KEVIN PHELPS,                (Doc. No. 4.)
     CITY OF EXETER, BARI
19
     MOLYNEUX, COUNTY OF
20   TULARE, and DOES 1 through 10,
     inclusive,
21

22                         Defendants.
23

24

25         Upon stipulation of the parties and good cause appearing, this case is
26   STAYED pending completion of plaintiff Adonis Serna’s criminal trial. All
27   previously set hearings and deadlines are VACATED. Plaintiff’s counsel shall file
28   ///
                                              1
     Case 1:18-cv-00718-LJO-BAM Document 5 Filed 06/06/18 Page 2 of 2

 1   a written status report every ninety (90) days to update defense counsel and this
 2   Court as to the status of the criminal matter.
 3

 4   IT IS SO ORDERED.

 5
        Dated:   June 5, 2018                           /s/ Barbara   A. McAuliffe       _
 6                                                  UNITED STATES MAGISTRATE JUDGE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                2
